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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                      )
REPUBLICAN NATIONAL                   )
COMMITTEE,                            )
                                      )
              Plaintiff,              )
                                      )
      v.                              )      Case No. 1:22-cv-00659-TJK
                                      )
NANCY PELOSI, et al.,                 )
                                      )
              Defendants.             )
                                      )


            PLAINTIFF’S RESPONSE TO CONGRESSIONAL DEFENDANTS’
             NOTICE REGARDING APRIL 18, 2022 STATUS CONFERENCE


                                          Christopher O. Murray
                                          STATECRAFT PLLC
                                          1263 Washington Street
                                          Denver, CO 80203
                                          Tel: 602.362.0034
                                          Email: chris@statecraftlaw.com

                                          Attorney for Plaintiff Republican National
                                          Committee
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       On April 18, 2022, the Court held a status conference. At the conference, the Court asked

the Congressional Defendants whether they would intervene in the case, as they have done in

other congressional subpoena cases, see, e.g., Trump v. Mazars, 140 S. Ct. 2019, 2028 (2020), in

the event they are dismissed under the Speech or Debate Clause. The Court noted that their

intervention would allow the Court to reach the merits of the RNC’s claims without first having

to decide whether the RNC has standing to pursue its First Amendment, Fourth Amendment, and

Stored Communications Act claims against Salesforce.

       Congressional Defendants refused to commit to intervention. Instead, they asked the

Court to decide the merits of the RNC’s claims against Salesforce “in the alternative.” At the

Court’s invitation, the Congressional Defendants filed a short notice with cases they believe

permit such an alternative ruling. (See Cong. Defs.’ Notice re April 18, 2022 Status Conference

(“Cong. Defs.’ Notice”) at 1.) The Court invited the RNC to respond to the Congressional

Defendants’ notice; the RNC therefore submits this short Response.

       Initially, the Congressional Defendants continue to ask the Court to let them have their

cake and eat it too. They urge the Court to first conclude they are entitled to legislative

immunity; second, hold the RNC lacks standing to vindicate its serious constitutional (and

statutory) claims against Salesforce in their absence; and third, enter an alternative advisory

opinion analyzing the substance of the RNC’s claims in their favor on the basis of briefing they
have submitted on the merits. All this, in the name of “judicial economy.” (See Cong. Defs.’

Notice at 1.) Given the Congressional Defendants’ refusal to intervene if dismissed, the Court

could be forgiven for questioning whether these Defendants are truly concerned about wasting

the Court’s time.

       Nevertheless, the RNC agrees the Court should reach the merits of its claims against

Salesforce, even if the Court—incorrectly—concludes that the Congressional Defendants’

Subpoena to Salesforce is in service of a valid legislative purpose. It should reach the merits

because the RNC unquestionably has standing to pursue these claims against Salesforce in
challenging the Subpoena at issue here. (See Pl.’s Suppl. Br. at 14–20.) And, if the Court reaches

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the merits of these claims (as it should), it should decide these claims in the RNC’s favor because

the Subpoena fails exacting scrutiny as a compelled disclosure under the First Amendment, is

unreasonable under the Fourth Amendment, and violates the Stored Communications Act. Such a

ruling would not be a ruling “in the alternative,” as urged by the Congressional Defendants, but a

necessary ruling on the merits of the RNC’s claims, which would be subject to appeal.

       If, however, the Court holds that the RNC lacks standing to pursue its First Amendment,

Fourth Amendment, and Stored Communications Act claims against Salesforce in the

Congressional Defendants’ “absence” post-dismissal, the Court should stand on such a holding.

Such a holding would, for the reasons articulated in the RNC’s supplemental briefing (see Pl.’s

Suppl. Resp. Br. at 10–12), be a watershed holding necessitating review by the appellate courts.

And any ruling the Court were to make “in the alternative” would be advisory, see Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 101 (1998), and not subject to deference on appeal.

       The RNC respectfully requests that the Court grant Plaintiff’s motion for preliminary

injunction and enter an order enjoining Defendant Salesforce from producing information, or

sitting for a deposition, in response to the Salesforce Subpoena.


Respectfully submitted this 20th day of April, 2022.

                                           STATECRAFT PLLC

                                           By:       s/ Christopher O. Murray
                                                     Christopher O. Murray
                                                     1263 Washington Street
                                                     Denver, CO 80203
                                                     Tel: 602.362.0034
                                                     Email: chris@statecraftlaw.com

                                           Attorney for Plaintiff Republican National Committee




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                                  CERTIFICATE OF SERVICE
        I certify that on April 20, 2022, I filed this Plaintiff’s Response to Congressional

Defendants’ Notice Regarding April 18, 2020 Status Conference via the CM/ECF system for

the U.S. District Court for the District of Columbia, which will cause a copy to be served on all

registered parties.


                                                     s/ Christopher O. Murray
                                                     Christopher O. Murray




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